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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ISAAC PAZ,                          )
                                    )
          Plaintiff,                )
                                    )                         Case No. 1:14-CV-09751
v.                                  )
                                    )                         Judge: Jorge L. Alonso
PORTFOLIO RECOVERY ASSOCIATES, LLC, )
                                    )                         Magistrate Judge: Maria Valdez
          Defendant.                )
                                    )


                            MOTION FOR PROTECTIVE ORDER

        Defendant, PORTFOLIO RECOVERY ASSOCIATES, LLC by and through its attorneys,

David M. Schultz, Avanti D. Bakane and Lindsey A.L. Conley of Hinshaw & Culbertson LLP, and

for its Unopposed Motion for Entry of a Protective Order, states as follows:

        1.      Defendant is preparing its discovery responses to be served upon Plaintiff. These

responses reference documents containing Defendant’s internal training and operating procedures,

and Defendant intends to produce the same.

        2.      In addition, several of the documents to be produced contain personal identifiers

and financial information for Plaintiff which is relevant to the claims and defenses at issue.

        3.      Defendant seeks to avoid public disclosure of the aforementioned documentation, as

it contains confidential and proprietary material.

        4.      Defendant provided the proposed Model Confidentiality Order of this District to

Plaintiff's counsel. Plaintiff's counsel does not oppose the entry of the proposed Order.

        5.      Defendant requests that this Court enter the proposed Model Confidentiality Order.

        WHEREFORE, Defendant, PORTFOLIO RECOVERY ASSOCIATES, LLC respectfully

requests that this Court grant its motion for entry of a protective order and for such further relief as

this court deems appropriate and just.


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                                                    Respectfully submitted,

                                                    PORTFOLIO RECOVERY            ASSOCIATES,
                                                    LLC, Defendant

                                                    /s/ Lindsey A.L. Conley
                                                    Lindsey A.L. Conley
David M. Schultz
Avanti D. Bakane
Lindsey A.L. Conley
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                                CERTIFICATE OF SERVICE

        I hereby certify that on August 5, 2015, I electronically filed with the Clerk of the U.S.
District Court, Northern District of Illinois Eastern Division, the foregoing Defendant’s Motion
for Protective Order by using the CM/ECF system, which will send notification of such filing(s)
to:

Mario Kris Kasalo
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                                                    /s/ Lindsey A.L. Conley




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